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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                        v.                          ) Case No. 1:21-cr-175-TJK
                                                    )
 ETHAN NORDEAN, et al.,                             )
                                                    )
        Defendants.                                 )
                                                    )

               JOINT NOTICE OF DEFENDANTS’ TRIAL AVAILABILITY

       Defendant Nordean, through his counsel, files this joint notice in response to the Court’s

order that the Defendants confer regarding their availability for a rescheduled trial.

       Having conferred with counsel, the following Defendants are available for a trial

beginning August 8, 2022:

   •   Defendant Nordean

   •   Defendant Biggs

   •   Defendant Rehl

   •   Defendant Donohoe

   •   Defendant Tarrio

       The following Defendant is not available for trial in August 2022 and cannot provide a

date by which he will be prepared to begin trial:

   •   Defendant Pezzola

       Given the conflict with Defendants Nordean, Biggs, Rehl, Donohoe and Tarrio, on the

one hand, and Defendant Pezzola, on the other, Defendants Tarrio and Pezzola should not be

considered as a unit for purposes of scheduling trial, severance, or tolling under the Speedy Trial


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Act.

Dated: April 7, 2022                           Respectfully submitted,

                                               /s/ David B. Smith
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                                               New York, NY 10003
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                                       Certificate of Service

       I hereby certify that on the 7th day of April, 2022, I filed the foregoing filing with the Clerk

of Court using the CM/ECF system, which will send a notification of such filing (NEF) to the

following CM/ECF user(s):

               Jim Nelson
               Assistant United States Attorney
               555 4th Street, N.W., Room 4408
               Washington, D.C. 20530
               (202) 252-7846

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                      /s/ David B. Smith
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